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 9                         L7NITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORI~IIA
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12    CLIFFORD CHAUN LOVER,                  Case No. 8:21-cv-00233-PSG-JC

13                                           ~~'Bp~~
                           Petitioner,
14                                           JUDGMENT

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16    PATRICK COVELLO,

17
                           Respondents.
18
19         Pursuant to this Court's Order Accepting Findings, Conclusions and
20 Recommendations of United States Magistrate Judge,
21      IT IS ADJUDGED that the Petition for Writ of Habeas Corpus by a Person
22 in State Custody and this action are dismissed.
23        IT IS SO ADJUDGED.
24 DATED:        a~~IZ~
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26                                  HONORABLE PHILIP S. GUTIERREZ
27                                  CHIEF UNITED STATES DISTRICT JUDGE

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